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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                          CRIMINAL NO. 04-80370
              Plaintiff,
                                          DISTRICT JUDGE JOHN CORBETT O’MEARA
v.
                                          MAGISTRATE JUDGE DONALD A. SCHEER
ALI ABDUL-KARIM FARHAT, et al.,

           Defendants.
_________________________________/

                     ORDER GRANTING DEFENDANTS’ VARIOUS
                        MOTIONS REGARDING ACCESS TO
                            DISCOVERY MATERIALS

       The Indictment in this case charges seventeen defendants in 56 Counts with various

violations of the United States Code, including Conspiracy to Defraud the United States,

Bank Fraud, Money Laundering and Attempt and Conspiracy to Commit Mail Fraud.

Eleven of the seventeen defendants are represented by appointed counsel. The original

Indictment was filed on April 26, 2004. Despite the passage of sixteen months, several

defendants have filed, or joined in, motions asserting that the government has improperly

restricted their access to materials which they are entitled to review and copy. In response,

the attorneys for the government maintain that the United States is without sufficient

personnel to allow defense counsel unrestricted access to the discovery materials.

       Following a hearing on August 2, 2005, the undersigned magistrate judge directed

the parties to investigate the feasibility and cost of copying documentary materials now in

the possession of the government to a compact disc which could be reproduced and

provided to counsel for each defendant. In response to the order, the parties have advised

the court that the cost of copying the approximately 80,000 pages would be $13,000.00.

       In addition to the monetary cost, the process of copying all of the materials would

require a considerable expenditure of time.
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        Government counsel represented at the hearing that the vast majority of the

documentary materials in question will not be offered as evidence in the prosecution case

in chief. It also appears that the majority of the documents are unlikely to be material to the

defense of any individual defendant. Nonetheless, it is further conceded that much of the

material was seized from the various defendants, and that individual defense counsel may

determine that some of the documents may be material to the preparation of a defense.

        Based upon the representations of counsel, I find that an order directing the

government to provide a copy of all documents in its possession to each defendant is

unwarranted.     Nonetheless, the government has an affirmative duty to permit the

defendants to inspect and copy or photograph such books, papers, documents, data,

photographs or other tangible evidence within its possession, custody and control if: 1) the

item is material to the preparation of a defense; 2) the government intends to use the item

in its case in chief at trial; or 3) the item was obtained from or belongs to the defendant.

In an effort to enforce that obligation, while at the same time minimizing the burden and

expense attendant upon its fulfilment, the court orders as follows:

        1. The government shall provide access by any defense counsel of record to the

entirety of the documentary or other tangible evidence in this case, upon two business days

notice in writing, between the hours of 9:00 a.m. and 5:00 p.m. on regular business days,

for a period of sixty (60) days from the date of this Order.

        2. The government shall provide to counsel for each defendant a copy of any

document or other tangible item which the government intends to use in its case in chief

at trial.



        3. The government shall permit counsel for each defendant to copy, or designate


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for copying, any document or other tangible item in the possession of the government

which was obtained from or belongs to the defendant, or which counsel for the defendant

determines is material to the preparation of a defense.

       4. All defense counsel shall complete their review of the documents or other

tangible evidence in the possession of the government within sixty (60) days from the date

of this Order. No extension will be granted except upon good cause.

       IT IS FURTHER ORDERED that the government shall permit defense counsel to

bring portable copying equipment to the evidence review for use in copying any item which

is determined to be material.

       All of which is ordered this 6th day of September, 2005.



                                          s/Donald A. Scheer
                                          DONALD A. SCHEER
                                          UNITED STATES MAGISTRATE JUDGE


_____________________________________________________________________

                                CERTIFICATE OF SERVICE

       I hereby certify on September 6, 2005 that I electronically filed the foregoing paper
with the Clerk of the Court sending notification of such filing to all counsel registered
electronically. I hereby certify that a copy of this paper was mailed to the following non-
registered ECF participants on September 6, 2005. Lawrence Bunting, James Hoare,
Donald Ferris, Daniel Garber, William Winters, Thomas Warshaw..

                                          s/Michael E. Lang
                                          Deputy Clerk to
                                          Magistrate Judge Donald A. Scheer
                                          (313) 234-5217




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